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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NORTH DAKOTA

United States of America,                    )
                                             )
               Plaintiff,                    )       INTERSTATE AGREEMENT ON
                                             )       DETAINERS ORDER
       vs.                                   )
                                             )       Case No.: 1:21-cr-176
Lawrence John Bearking,                      )
                                             )
               Defendant.                    )


       On August 30, 2023, Defendant made his initial appearance in the above-entitled action and

was arraigned. AUSA Rick Volk appeared on behalf of the United States. Attorney Scott Brand

appeared on Defendant’s behalf.

       Prior to his initial appearance, Defendant was incarcerated by the State of North Dakota at

the James River Correctional Center. After the Second Superseding Indictment in this case was

returned and an arrest warrant issued, a detainer was filed by the United States with the North

Dakota prison officials. Pursuant to the Interstate Agreement on Detainers Act (“IADA”),

Defendant’s appearance before this court for his initial appearance and arraignment was secured by

a writ of habeas corpus ad prosequendum.

       At his initial appearance and arraignment, Defendant was advised of his rights under the

Interstate Agreement on Detainers Act (“IADA”) to continued federal custody until the charges set

forth in the Second Superseding Indictment are adjudicated. Defendant waived in open court the

anti-shuttling provisions of the IADA and agreed to remain in the custody of the State of North

Dakota (the “sending state” under the IADA) at the James River Correctional Center pending further

proceedings in this case initiated by the United States (the “receiving state” under the IADA).


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       The court accepts Defendant’s waiver, finding that it was made knowingly and intelligently,

voluntarily, and upon advice of counsel. Accordingly, the court ORDERS that Defendant be

returned to and housed in the “sending state” under the IADA pending further proceedings or until

further order of the court Further, pursuant to Defendant’s waiver, the return of Defendant to his

place of incarceration pending trial shall not be grounds under the IADA for dismissal of the charges

set forth in the Second Superseding Indictment.

       Dated this 30th day of August, 2023.

                                              /s/ Clare R. Hochhalter
                                              Clare R. Hochhalter, Magistrate Judge
                                              United States District Court




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